
SAVOY, Judge.
This expropriation suit was consolidated for trial and appeal with the companion case of Michigan Wisconsin Pipe Line Company v. Miller, 229 So.2d 182 (La.App. 3 Cir. 1969), decided also on this date.
For the reasons assigned in the companion case, the judgment of the district court is amended so as to increase the award to defendant, Jefferson Davis Young, Jr., from $830.30 to $1,610.30, together with legal interest on all unpaid amounts from the date of the taking, until paid. In all other respects, the judgment of the district court is affirmed at plaintiff-appellee’s costs.
Amended and affirmed.
HOOD, J., dissents for reasons assigned in 229 So.2d 182 (La.App. 3 Cir. 1969).
